






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00441-CV





In the Matter of B. E. D.






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 04-174-J277, HONORABLE KEN ANDERSON, JUDGE PRESIDING 





M E M O R A N D U M   O P I N I O N



	Appellant's (1) brief was due on September 24, 2004.  On October 20, 2004, a notice
was sent to appellant informing her that her brief was overdue and her appeal was subject to
dismissal for want of prosecution if she did not respond.  See Tex. R. App. P. 38.8(a)(1).  A second
notice was sent on November 8, 2004, with any response due by November 19, 2004.  To date, no
response has been received. (2)  Accordingly, we dismiss the appeal for want of prosecution.  See Tex.
R. App. P. 42.3(b).


						____________________________________

						W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton


Dismissed for Want of Prosecution


Filed:   December 16, 2004
1.        	The only notice of appeal in this cause was filed on behalf of the juvenile's mother,
challenging  child support payments to be made while the juvenile was placed away from the home. 
These payments were imposed on the mother in the dispositional order of probation.
2.        	Further, appellant has not paid the filing fees due in this Court.


